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14                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
15
16   FIONA HARVEY                               Case No.:
17
                                                COMPLAINT
18                Plaintiff,
                                                DEMAND FOR JURY TRIAL
19          vs.

20   NETFLIX, INC., and NETFLIX

21   WORLDWIDE ENTERTAINMENT,

22   LLC,

23
24                Defendant.

25
26
27
28                                          1
                                        Complaint
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 1                                   “This is a true story.”
                                  - Baby Reindeer, Episode 1.
 2
 3                             PRELIMINARY STATEMENT
 4
           1.     The above quote from the first episode of the Netflix series, Baby
 5
 6   Reindeer, is the biggest lie in television history. It is a lie told by Netflix and the

 7   show’s creator, Richard Gadd, out of greed and lust for fame; a lie designed to
 8
     attract more viewers, get more attention, to make more money, and to
 9
10   viciously destroy the life of Plaintiff, Fiona Harvey – an innocent woman defamed

11   by Netflix and Richard Gadd at a magnitude and scale without precedent.
12
           2.     This is an action by Plaintiff Fiona Harvey (“Harvey”) against
13
14   Defendants Netflix, Inc. and Netflix Worldwide Entertainment (collectively

15   “Netflix”), for defamation, intentional infliction of emotional distress, negligence,
16
     gross negligence, and violations of Harvey’s right of publicity, arising out of the
17
18   brutal lies Defendants told about her in the television series, Baby Reindeer. The

19   lies that Defendants told about Harvey to over 50 million people worldwide
20
     include that Harvey is a twice convicted stalker who was sentenced to five years in
21
22   prison, and that Harvey sexually assaulted Gadd. Defendants told these lies, and

23   never stopped, because it was a better story than the truth, and better stories made
24
     money.
25
26         3.     And Netflix, a multi-national billion dollar entertainment streaming
27   company did literally nothing to confirm the “true story” that Gadd told. That is,
28                                               2
                                            Complaint
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 1   it never investigated whether Harvey was convicted, a very serious
 2
     misrepresentation of the facts. It did nothing to understand the relationship
 3
 4   between Gadd and Harvey, if any. It did nothing to determine whether other facts,

 5   including an assault, the alleged stalking or the conviction was accurate. It did
 6
     nothing to understand whether Gadd’s production, which ruined Harvey was
 7
 8   accurate. As a result of Defendants’ lies, malfeasance and utterly reckless

 9   misconduct, Harvey’s life had been ruined. Simply, Netflix and Gadd destroyed
10
     her reputation, her character and her life.
11
12                                      THE PARTIES

13         4.     Plaintiff Ms. Fiona Harvey (“Harvey”) is a resident of England.
14
     Harvey earned a Degree of Bachelor of Laws from the University of Aberdeen in
15
16   1990, a diploma in Legal Practice from the University of Strathclyde in 1993 and

17   was granted an Entrance Certificate to the Law Society of Scotland in 1997. In
18
     2005, Harvey earned her Graduate Diploma in Law (CPE) from the University of
19
20   Westminster.

21         5.     Defendant Netflix, Inc. is a Delaware corporation with a principal
22
     place of business at 121 Albright Way, Los Gatos, California, 95032. Netflix is a
23
24   producer and distributor of content with over 260 million paid subscribers and a
25   market cap of $283 billion. Netflix Inc. owns the Netflix streaming platform that
26
     streamed Baby Reindeer. “[Netflix] acquires, licenses and produces content,
27
28                                                 3
                                           Complaint
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 1   including original programming, in order to offer our members unlimited viewing
 2
     of video entertainment.” Netflix, Inc. Jan. 26, 2024 10-K Report at p. 28 (“Netflix
 3
 4   10-K.

 5           6.   Netflix, Inc. is at home in Los Angeles, as it leases its “principal
 6
     properties” in Los Angeles. Netflix, 10-K at p. 18, Item 2. In total, Netflix, leases
 7
 8   and occupies over 1.4 million square feet of office and studio space.

 9           7.   Netflix leases and fully occupies, Epic, a 13-story, 327,913 square
10
     foot high rise at 5901 Sunset Boulevard in Hollywood.
11
12           8.   In addition, Netflix, Inc. leases 325,757 square feet of office space at

13   ICON and 91,953 squre feet of office space at CUE, both of which are located on
14
     the Sunset Bronson Studios lot at 5800 Sunset Blvd. in Hollywood. I
15
16           9.   In addition, Netflix has leases about 100,000 square feet of space at

17   the historic Musicians Union at 817 Vine Street in Hollywood, and over 355,000
18
     square feet at the Academy on Vine, a development that occupies an entire city
19
20   block bounded by Vine Street, DeLongpre Avenue, Ivar Street, and Homewood

21   Avenue in Hollywood. Upon expanding into the Academy on Vine property,
22
     Netflix CFO David Wells said “Our expansion into the Academy on Vine Property
23
24   further deepens our connection with the Los Angeles and Hollywood
25   communities.”
26
27
28                                              4
                                           Complaint
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 1           10.   On May 12, 2024, Netflix marked the sixth anniversary of its flagship
 2
     FYSEE (a play on “FYC”) space by moving to Sunset Las Palmas in Hollywood.
 3
 4   Netflix’s FYSEE space in Hollywood, serves as a hub for Official For Your

 5   Consideration (“FYC”) events,
 6
             11.   As noted in Netflix Inc.’s most recent 10-K filing with the SEC:
 7
 8         we must continually add new members to replace canceled memberships and
           to grow our business beyond our current membership base. . . Our ability to
 9         continue to attract and retain our [subscribers] will depend in part on our
10         ability to consistently provide our members in countries around the globe
           with compelling content choices that keep our [subscribers] engaged with
11         our service, effectively drive conversation around our content and service, as
12         well as provide a quality experience for choosing and enjoying TV series,
           films and games. . . If we do not grow as expected . . . operations may be
13         adversely impacted. If we are unable to successfully compete with current
14         and new competitors in providing compelling content, retaining our existing
           members and attracting new members, our business will be adversely
15         affected.
16   Netflix 10-K at p. 4 (emphasis added).

17           12.   Netflix, Inc. earns revenue not only through paid subscribers (called
18
     “members”) but “also earns revenue from advertisements presented on its
19
20   streaming service, consumer products and other various sources.” Netflix 10-K at

21   p. 46
22
             13.   Defendant Netflix Worldwide Entertainment, LLC is a Delaware
23
24   corporation with a principal place of business at 5808 W. Sunset Blvd., Los

25   Angeles, California, 90028 (“Netflix Worldwide”). Netflix Worldwide is the
26
27
28                                             5
                                           Complaint
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 1   copyright owner of Baby Reindeer. Netflix, Inc. and Netflix Worldwide are
 2
     collectively referred to herein as “Netflix.”
 3
 4         14.    On May 8, 2024, Netflix and Gadd hosted a For Your Consideration

 5   (“FYC”) screening of Baby Reindeer at the Director’s Guild of America Theater
 6
     Complex at 7920 Sunset Blvd, Los Angeles, CA 90046 in support of Netflix’s
 7
 8   submission of “Baby Reindeer” for consideration to be nominated for over a dozen

 9   Emmy Awards including, best limited series, best actor and best writing (Gadd),
10
     and best supporting actress (Jessica Gunning as ‘Martha’).
11
12         15.    On June 1, 2024, Netflix and actress, Jessica Gunning, who plays

13   ‘Martha’ in Baby Reindeer, hosted a special screening for Baby Reindeer at
14
     FYSEE at Sunset Las Palmas Studios in Los Angeles.
15
16                             JURISDICTION AND VENUE

17         16.    The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332
18
     because the parties reside in different states and the amount in controversy exceeds
19
20   $75,000.

21         17.    There is personal jurisdiction against the Defendants as Netflix’s
22
     principal place of business is in the State of California and Netflix is at home in
23
24   Los Angeles, California as lessee of over 1.4 million square feet. Netflix actively
25   promoted and screened Baby Reindeer throughout Hollywood for purposes of
26
     winning numerous categories at this year’s 77th Emmy Awards to be hosted in Los
27
28                                              6
                                           Complaint
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 1   Angeles on September 15, 2024 at the Peacock Theater at L.A. Live in Los
 2
     Angeles.
 3
 4         18.    Venue is proper in this judicial district because Defendant Netflix

 5   Worldwide has its headquarters in Los Angeles, Netflix, Inc. has over 1.4 million
 6
     square feet of space in Los Angeles, Netflix has hosted promotional screenings of
 7
 8   Baby Reindeer in Los Angeles in support of Emmy nominations, and Gadd and

 9   Netflix have promoted Baby Reindeer in Los Angeles. Los Angeles has a vested
10
     interest in hearing this case because the claims made in this action are important to
11
12   the television and film business in Los Angeles.

13                                   BABY REINDEER
14
           19.    Baby Reindeer is a seven episode limited television series about the
15
16   “true story” of Richard Gadd, a failing comedian, set in the year 2015.

17         20.    Gadd is the writer and creator of Baby Reindeer in addition to starring
18
     in it as “Donny.”
19
20         21.    Baby Reindeer is a worldwide phenomenon, premiered on Netflix on

21   April 11, 2024, and has since drawn over 56 million views through May 8, making
22
     it Netflix’s most popular content this year, and on track to become the most
23
24   streamed show on Netflix of all time. Netflix stopped publicly releasing viewership
25   of Baby Reindeer.
26
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28                                             7
                                          Complaint
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 1          22.    The draw for the show is the representation made by the Defendants
 2
     that this is a true story.
 3
 4          23.    At the 1:39 mark of the Episode 1, this image appears on screen:

 5
 6
 7
 8
 9
10
11
12
13
                                        Richard Gadd
14
            24.    Richard Gadd wrote and created the “true story” Baby Reindeer, and
15
16   stars in it playing himself.
17
            25.    Gadd is a self-admitted crack, meth, and heroin user (Ep. 4, -19:07)
18
     with a self-admitted history of masturbating to Harvey (Ep 5 – 8:01), following her
19
20   home and spying on her through her window, (Ep. 1 -15:00 – -13:20), and lying to
21
     the police about his contacts with her. (Ep. 6, -26:58):
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28                                             8
                                           Complaint
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 9         26.    Baby Reindeer tracks Gadd’s progress in a comedy competition while
10   he works as a bartender at the pub, The Heart, in Camden, London.
11
                                          “Martha”
12
13         27.    To overcome the uninteresting “true story” of Gadd’s inability to
14   advance professionally in the London comedy circuit, Defendants fabricated a the
15
     “true story” of a woman, ‘Martha’, that Gadd meets at the pub, to make Baby
16
17   Reindeer more captivating.
18
           28.    According to Defendants, the real ‘Martha’ is a twice convicted
19
     criminal. She spent a total of five years in prison for stalking Gadd and another
20
21   woman. In addition, Martha stalked a policeman, sexually assaulted Gadd in an
22
     alley; violently attacked him in a pub and waited outside his home every day for up
23
     to 16 hours a day.
24
25         29.    The real Martha is reasonably understood by all viewers to have done
26
     all of these monstrous things because Netflix and Gadd stated this was true.
27
28                                             9
                                          Complaint
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 1                         “Hang My Curtains” – Harvey is Identified
 2
           30.    A recurring joke throughout Baby Reindeer is the phrase “hang my
 3
 4   curtains” as a euphemism for Gadd having sex with ‘Martha.’

 5         31.    For example, in Episode 1 at -23:18, Gadd’s fellow bartenders ask
 6
     Gadd when he and “Martha” are “going to shag.” Gadd responds that he does not
 7
 8   believe in sex before marriage to which “Martha” replies that she is marriage

 9   material and that all she needs is someone to hang her curtains:
10
11
12
13
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16
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18
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21
           32.    Gadd narrates that “hang her curtains” sounded “vaguely sexual” and
22
23   he responds to “Martha” by joking, “I’ll hang your curtains!” to which the bar

24   erupts in laughter.
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28                                            10
                                           Complaint
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           33.     Later in Episode 1, ‘Martha’ sends Gadd 80 emails per day including
11
12   this one stating: “my curtains are waiting for you they are ready” (spelling
13
     corrected):
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16
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21
           34.     In an interview with GQ Magazine, Gadd claimed “we’ve gone to
22
23   such lengths to disguise [Harvey] that I doubt she would recognize herself in the
24
     show.”
25
26
27
28                                            11
                                          Complaint
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 1         35.    In real life, this tweet from @FionaHarvey2014 to @Mr.RichardGadd
 2
     in 2014, was publicly searchable on X when Baby Reindeer was released in April
 3
 4   2024, and easily found:

 5
 6
 7
 8         36.    Within days after the release of Baby Reindeer on April 11, 2024,
 9   members of the public identified Fiona Harvey as “Martha.”
10
           37.    Total strangers began to message on Harvey on Facebook and call
11
12   her. The messages below are just some of the Facebook users with names
13   beginning with the letter, ‘A’:
14
15
16
17
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28                                           12
                                         Complaint
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 1         38.   Popular internet forums such as Redditt and TikTok had thousands of
 2
     users identifying and discussing Harvey as the real “Martha.”
 3
 4         39.   The identification of Harvey as ‘Martha’ was easy and took a matter

 5   of days as Harvey’s identity was completely undisguised.
 6
           40.   In Baby Reindeer, ‘Martha’ is a Scottish lawyer, living in London,
 7
 8   twenty years older than Gadd, and was accused of stalking a barrister in a

 9   newspaper article who communicated with him on social media.
10
           41.   Like ‘Martha,” Harvey is a Scottish lawyer, living in London, twenty
11
12   years older than Gadd, was accused of stalking a lawyer in a newspaper article, and

13   who bears an uncanny resemblance to ‘Martha’. Further, ‘Martha’s’ accent,
14
     manner of speaking and cadence, is indistinguishable for Harvey’s.
15
16
17
18
19
20
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22
23
24         42.   After being identified, the press in London began to contact Harvey,
25   and the hatred towards Harvey on Internet forums such as Reddit and TikTok
26
27
28                                           13
                                          Complaint
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 1   reached extreme levels including death threats, such as this one on TikTok that was
 2
     “liked” by 7,000 people:
 3
 4
 5
 6
 7         43.    Since being identified as ‘Martha’ only days after Netflix’s release of

 8   Baby Reindeer, Harvey has been tormented. Harvey continues to suffer emotional
 9
     distress, which has been manifested by objective symptomology. Harvey is
10
11   physically weak. She has and continues to experience anxiety, nightmares, panic
12   attacks, shame, depression, nervousness, stomach pains, loss of appetite and fear,
13
     extreme stress and sickness all directly caused by the lies told about her in Baby
14
15   Reindeer.
16         44.    Harvey is fearful of leaving her home or checking the news. As a
17
     direct result of Baby Reindeer, Harvey has become extremely secluded and
18
19   isolated, in fear of the public, going days without leaving her home.
20         45.    At the same time, Netflix and Gadd, have traveled the country
21
     promoting the show and accepting awards while receiving praise and applause for
22
23   the series, everything Gadd and Netflix wanted, for this ‘true story.’
24         46.    Baby Reindeer is not a true story. It is a lie created by Gadd and
25
     distributed by Netflix.
26
27
28                                            14
                                          Complaint
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 1          47.    Gadd confesses in Baby Reindeer that he has a deep psychological
 2
     need for attention so intense that in the past he willfully prostituted himself to
 3
 4   another man to advance his career and for “a little peep at fame.” Ep. 6, -8:00.

 5          48.    In addition, Gadd confesses in Baby Reindeer that he is not worried
 6
     that people think badly of him, but instead “worried they don’t think about me at
 7
 8   all.” Ep. 1 at -7:25.

 9          49.    To get his “peep at fame” and get people to think about him, Gadd
10
     and Netflix defamed a middle-aged woman, Fiona Harvey, so completely, that
11
12   Harvey is even afraid to go outside.

13          50.    As stated in Netflix’s most recent 10-K filed with the SEC:
14
               If we do not grow as expected . . . operations may be adversely impacted.
15             If we are unable to successfully compete with current and new
16             competitors in providing compelling content, retaining our existing
               members and attracting new members, our business will be adversely
17             affected. Netflix 10-K at p. 4 (emphasis added).
18          51. To ensure that Netflix continued to meet its shareholders’ “growth

19   expectations” and to satisfy it desperate need for “compelling content”, Netflix
20
     ruthlessly defamed Fiona Harvey.
21
22                                        Defamation

23                     Harvey Has Never Been Convicted of a Crime
24
            52.    Harvey has never been convicted of any crime and has never been to
25
26   prison. Attached as Exhibit 1 is a Certificate confirming that Harvey has no
27   convictions, cautions, reprimands, or warnings.
28                                             15
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 1           53.   Notwithstanding, the central plot, and the arc of the series, is that
 2
     Gadd befriended, ‘Martha’, a convicted stalker who returns to prison for stalking
 3
 4   Gadd.

 5           54.   In Episode 1 at -3:18, Defendants claim that ‘Martha’ had received a
 6
     “four-and-a half-year prison sentence.”
 7
 8
 9
10
11
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16
17           55.   Episode 1 ends with the following repeated refrain from Gadd:
18                 I had a convicted stalker stalking me
19
                   I had a convicted stalker stalking me
20
                   I had a convicted stalker stalking me
21
22           56.   Episode 7 climaxes with a two-minute-long courtroom scene in which

23   Harvey dramatically pleads guilty from behind bars and is convicted of three
24
     charges of stalking Gadd and harassment of his mother and faither.
25
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28                                                 16
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           57.    In Episode 7, Defendants claim that Harvey was “sentenced to nine
11
     months in prison and a five-year restraining order was issued that same day.” Ep. 7
12
13   at -15:42.
14
           58.    In fact, Harvey has never pled guilty to any crime. Harvey is not a
15
     convicted criminal.
16
17                         Harvey Never Sexually Assaulted Gadd
18
           59.    In addition to lying about Harvey being a criminal, Baby Reindeer
19
20   makes the outrageous claim that Harvey sexually assaulted Gadd in an alley.

21         60.    In a disturbing scene at the end of Episode 2, Defendants allege that
22
     Harvey sexually assaulted him a dark alley, by pushing Gadd against a wall and
23
24   grabbing his penis without consent. Gadd claims he said, “please stop” and Harvey

25   responded, “keep still” and continued to grab Gadd until she ‘made him beat’.
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27
28                                            17
                                          Complaint
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 7         61.   Harvey has never had any sexual encounter with Gadd. The claim that
 8   Harvey sexually assaulted Gadd is a lie.
 9
                               Harvey Never Stalked Gadd
10
11         62.   Baby Reindeer includes the repeated lie that Harvey stalked Gadd.
12         63.   Episode 1 concludes with the repeated refrain:
13
                            I had a convicted stalker stalking me
14
15                          I had a convicted stalker stalking me
16                          I had a convicted stalker stalking me
17
           64.   For approximately two minutes of Episode 3, Defendants claim that
18
19   Harvey stalked Gadd by sitting at a bus stop on the same street – thirty yards away
20   – as Gadd’s residence, from morning to night:
21
           Every day now, Martha would be outside. This ticking time bomb on my life.
22         I would leave first thing in the morning and she would be there. Then I
23         would come back sometimes as late as 11 or 12 at night and she would still
           be there. . . . It was all catcalls and snatched glimpses, as she devoted 15,
24
           16-hour days to a fleeting encounter. But soon, as time wore on and the
25         temperature dropped, I noticed a change in Martha as she descended into
           this staring.
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27
28                                              18
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              65.   Harvey never waited outside Gadd’s residence.
12
13            66.   Defendants’ claim that Harvey waited outside on the same street as
14
     Gadd’s residence every day, for up to 15-16 hours a day, is a psychotic lie.
15
                            Harvey Never Stalked A Police Officer
16
17            67.   In Episode 5, Defendants claims that when Gadd went to the police to
18
     report Harvey for stalking, the police detective informed Gadd that Harvey was “a
19
     very serious woman. So serious that she once stalked a policeman.” Ep. 5 at -
20
21   10:15.
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28                                             19
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 9         68.    This is another lie. Harvey never stalked any police officer and no
10
     police detective ever told Gadd that Harvey stalked a policeman. This lie by
11
12   Defendants is reprehensible as it gives Gadd’s defamatory story the authority of

13   official police statements.
14
                                   Harvey Never Attacked Gadd
15
16         69.    In Episode 6, Defendants claim that Harvey violently smashed a glass
17   bottle over Gadd’s head and gouged his eyes with her thumbs in a horrific physical
18
     assault that left Gadd’s head bloodied.
19
20
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24
25         70.    This is a lie. Harvey never smashed a glass bottle over Gadd’s head,
26
     gouged his eyes, or ever physically attacked him in any way.
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28                                             20
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 1
 2
                      Netflix Defames Harvey on its Website, Tudum
 3
 4          71.   Netflix owns and controls the website www.tudum.com.

 5          72.   On May 16, 2024, Netflix published an article on Tudum by
 6
     Christopher Hudspeth titled, What is Baby Reindeer? The True Story and New
 7
 8   Series Explained (the “Netflix Article”).

 9          73.   The Netflix Article states unequivocally that the “series is a true
10
     story” and “it’s important to remember that this isn’t just a story — it’s true.”
11
12          74.   The Netflix Article is defamatory as the story told about Harvey is a

13   lie.
14
                    Netflix Defames Harvey in the House of Commons
15
16          75.   On May 8, 2024, Netflix executive, Benjamin King, appeared before

17   the House of Commons Culture, Media and Sport Committee, on behalf of Netflix
18
     and in his capacity as Senior Director of Public Policy of Netflix.
19
20          76.   At the Committee hearing, Mr. King and was asked by John Nicolson,

21   Member of Parliament for Ochil and South Pershire, about the duty of care due to
22
     woman now identified as ‘Martha’ from Baby Reindeer.
23
24          77.   Mr. King responded to John Nicolson and stated the following in
25   response:
26
            Baby Reindeer is obviously a true story of the horrific abuse that [Richard
27          Gadd] suffered at the hands of a convicted stalker. We did take every
28                                               21
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 1         reasonable precaution in disguising the real life identities of the people
           whilst striking a balance with the veracity and authenticity of the story.
 2
 3         78.    Harvey is not a convicted stalker and King’s and Netflix’s statement
 4
     is a defamatory lie.
 5
 6         79.    MP John Nicolson went Mr. King a follow up written inquiry

 7   requesting “evidence for this serious claim which [Mr. King] to Nicolson at the
 8
     Select Committee:”
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28                                            22
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 1          80.    Netflix has not provided any evidence.
 2
                           Netflix Failed to Do Any Due Diligence
 3
 4          81.    Netflix told the lies in Baby Reindeer that Harvey is a twice convicted

 5   criminal who sexually assaulted him.
 6
            82.    Netflix and Gadd have never, to this day, contacted Harvey directly or
 7
 8   indirectly to confirm Gadd’s story.

 9          83.    Defendants never obtained any confirmation from any governmental
10
     authority confirming that Harvey had been convicted of any crime.
11
12          84.    Defendants did not investigate Gadd’s claim that Harvey sexually

13   assaulted him, and recklessly and/or intentionally disregarded the truth of these
14
     defamatory statements.
15
16                                   Netflix’s Algorithm

17          85.    Baby Reindeer is on track to become one of Netflix’s most popular
18
     series of all time.
19
20          86.    When asked about the success of Baby Reindeer, Netflix’s CEO Ted

21   Sarandos said the series owed its popularity to Netflix’s algorithm, stating “[Baby
22
     Reindeer] g[ot] picked up in the algorithm and start[ed] getting more and more
23
24   presented.”
25                              FIRST CAUSE OF ACTION
26                                  (DEFAMATION)
27
28                                             23
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 1         87.    Harvey realleges each of the aforementioned allegations as if fully
 2
     alleged herein.
 3
 4         88.    Defendants each made the statements herein that (1) Harvey was

 5   convicted stalker who served a four-and-a-half-year sentence in Scotland; (2)
 6
     Harvey was a convicted stalker and harasser who pled guilty and was sentenced to
 7
 8   a nine-month sentence and a five year restraining order; (3) Harvey sexually

 9   assaulted Gadd as depicted in Episode 2; (4) Harvey violently attacked Gadd by
10
     smashing a glass over his head and gouged his eyes; (5) Harvey stalked a
11
12   policeman; (6) a police detective told Gadd that Harvey stalked a policeman; and

13   (7) Harvey waited outside Gadd’s residence every day up to 16 hours a day.
14
           89.    Each of these statements was viewed more than 50 million times.
15
16         90.    In addition, Netflix made the statement that Harvey was a convicted

17   stalker in a committee meeting in the House of Commons and stated that Baby
18
     Reindeer was true in Parliament on Netflix’s website, Tudum.
19
20         91.    Netflix viewers, and members of the public, reasonably understood

21   that the statements were about Harvey and that Harvey was a twice convicted
22
     stalker who separately served prison sentences of four-and-a-half years, and nine
23
24   months, and that Harvey sexually assaulted Gadd, violently attacked Gadd, and
25   that Gadd had been warned by the police that Harvey stalked a policeman.
26
27
28                                            24
                                          Complaint
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 1         92.    Each of the Defendants failed to use reasonable care to determine the
 2
     truth or falsity of the statements.
 3
 4         93.    Defendants wrongful conduct was a substantial factor in causing harm

 5   to Harvey’s reputation, and caused shame, ridicule, mortification, and hurt feelings
 6
     to Harvey.
 7
 8         94.    Defendants wrongful conduct constitutes defamation per se.

 9         95.    Accordingly, Harvey has been seriously damaged mentally and
10
     emotionally. Said damages, which shall be determined at trial, are believed to
11
12   exceed $50 million, exclusive of legal fees, costs and statutory interest.

13         96.    In addition, because Defendants’ conduct was so outrageous, Harvey
14
     seeks punitive damages in an amount that will punish Defendants from ever
15
16   engaging in said conduct and an amount and that will deprive Defendants of all

17   benefit, financial or otherwise, of their defamatory statements.
18
                        SECOND CAUSE OF ACTION
19           (INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS)
20
           97.    Harvey realleges each of the aforementioned allegations as if fully
21
22   alleged herein.

23         98.    Defendants’ conduct herein was extreme and outrageous with the
24
     intention of causing, or recklessly disregarding the probability of causing,
25
26   emotional distress to Harvey.
27
28                                             25
                                           Complaint
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 1         99.      Defendants’ conduct was “extreme and outrageous” defined under
 2
     California law as "so extreme as to exceed all bounds of that usually tolerated in a
 3
 4   civilized community.”

 5         100. Harvey suffered severe and extreme emotional distress directly and
 6
     proximately caused by Defendants’ outrageous conduct.
 7
 8         101. Defendants’ conduct was intended to inflict injury on Harvey and was

 9   engaged in with the realization that injury would result to Harvey.
10
           102. Accordingly, Harvey has been seriously damaged mentally and
11
12   emotionally. Said damages, which shall be determined at trial, are believed to

13   exceed $50 million, exclusive of legal fees, costs and statutory interest.
14
           103. In addition, because Defendants’ conduct was so outrageous, Harvey
15
16   seeks punitive damages in an amount that will punish Defendants from ever

17   engaging in said conduct and deprive them of all benefit, financial or otherwise, of
18
     their outrageous conduct, in an amount believed to be in excess of an additional
19
20   $20 million.

21                           THIRD CAUSE OF ACTON
22                                 (NEGLIGENCE)
           104. Harvey realleges each of the aforementioned allegations as if fully
23
24   alleged herein.
25         105. Defendants owed Harvey a duty of care to accurately represent her in
26
     Baby Reindeer which they billed as “true”, to confirm the details of allegations
27
28                                             26
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 1   made about her in Baby Reindeer as true, including without limitation, her criminal
 2
     convictions, sexual and physical assaults on Gadd, and/or to sufficiently ensure
 3
 4   Harvey could not be identified based on information in Baby Reindeer.

 5         106. Defendants breached their duty of care by lying repeatedly about
 6
     Harvey in Baby Reindeer, including Harvey’s criminal record, that she stalked a
 7
 8   policeman, that Gadd was told by the police that Harvey stalked a policeman, that

 9   Harvey physically and sexually assaulted Gadd, and that she waited outside his
10
     resident for 16 hours a day, every day.
11
12         107. Defendants further breached their duty of care insufficiently

13   disguising Harvey as the real ‘Martha.’ Defendants breached their duty of care by
14
     making ‘Martha,” like Harvey, a female Scottish lawyer twenty years older than
15
16   Gadd, living in Camden who patroned the pub where Gadd worked in the year

17   2014. Defendants’ further breached their duty by giving ‘Martha’ an uncanny
18
     resemblance to Harvey. Defendants’ breached their duty by ensuring that Harvey
19
20   could not be identified within a matter of days after the Baby Reindeer launched

21   based on Harvey’s public social media posts.
22
           108. As a result of Defendants’ breaches, Harvey has been damaged
23
24   severely. Since being identified as the real ‘Martha’ in Baby Reindeer, Harvey has
25   experienced among other things intense panic, fear, anxiety, sleeplessness, and
26
27
28                                             27
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 1   despair. Harvey is reluctant to go outside, watch the news, and has become
 2
     inhumanly isolated.
 3
 4         109. It is foreseeable that depicting a vulnerable woman as an actual real-

 5   life violent convicted monster to 50 million people will cause these damages. This
 6
     is a case of unprecedented mental and emotional distress.
 7
 8         110. Harvey has suffered severe emotional distress as a result of

 9   Defendants’ negligence.
10
                               FOURTH CAUSE OF ACTION
11                               (GROSS NEGLIGENCE)
12
           111. Harvey realleges each of the aforementioned allegations as if fully
13
14   alleged herein.

15         112. Defendants’ acts, when viewed objectively from Defendants’
16
     standpoint, involved an extreme risk considering the probability and magnitude of
17
18   potential harm to Harvey.

19         113. Each of the Defendants had actual subjective awareness of the risk
20
     involved, but nevertheless proceeded in conscious indifference to the rights, safety,
21
22   and/or welfare of Harvey.

23         114. As such, each of the Defendants’ actions constitute gross negligence.
24
           115. Therefore, Harvey prays that punitive damages be awarded against
25
26   each of the Defendants.
27
28                                            28
                                          Complaint
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 1         116. Accordingly, Harvey has been seriously damaged mentally and
 2
     emotionally. Said damages, which shall be determined at trial, are believed to
 3
 4   exceed $20 million, exclusive of legal fees, costs and statutory interest.

 5         117. In addition, because Defendants’ conduct was so outrageous, Harvey
 6
     seeks punitive damages in an amount that will punish Defendants from ever
 7
 8   engaging in said conduct and deprive them of all benefit, financial or otherwise, of

 9   their outrageous conduct, an amount believed to be in excess of an additional $50
10
     million.
11
12
13                        FIFTH CAUSE OF ACTION
14                VIOLATIONS OF RIGHT OF PUBLICITY UNDER
                         CALIFORNIA COMMON LAW
15
16         118. Harvey realleges each of the aforementioned allegations as if fully

17   alleged herein.
18
           119. Defendants used Harvey’s identity and likeness for commercial
19
20   advantage without her consent, resulting in injury to Harvey.

21         120. At all times Defendants knew that they did not have permission to use
22
     Harvey’s identity or likeness for commercial purposes.
23
24         121. There is a direct connection between the use of Harvey’s identity and
25   likeness, and Defendants’ commercial purposes.
26
27
28                                             29
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 1         122. Harvey has suffered mental anguish caused by the unauthorized use of
 2
     her identity and likeness without her permission in Baby Reindeer.
 3
 4         123. Harvey is entitled to recover, and Defendants are each liable for, any

 5   damages suffered by Harvey, including without limitation, profits from the
 6
     unauthorized use of Harvey’s identity and likeness in Baby Reindeer.
 7
 8                        SIXTH CAUSE OF ACTION
                  VIOLATIONS OF RIGHT OF PUBLICITY UNDER
 9                      CALIFORNIA CIV. CODE § 3344
10
           124. Harvey realleges each of the aforementioned allegations as if fully
11
12   alleged herein.

13         125. Defendants used Harvey’s identity and likeness for commercial
14
     advantage without her consent, resulting in injury to Harvey.
15
16         126. At all times Defendants knew that they did not have permission to use

17   Harvey’s identity or likeness for commercial purposes.
18
           127. There is a direct connection between the use of Harvey’s identity and
19
20   likeness, and Defendants’ commercial purposes.

21         128. Harvey has suffered mental anguish caused by the unauthorized use of
22
     her identity and likeness without her permission in Baby Reindeer.
23
24         129. Harvey is entitled to recover, and Defendants are each liable for, any
25   profits from the unauthorized use of Harvey’s identity and likeness.
26
27
28                                           30
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 1           130. In addition, Harvey is entitled to recover, and Defendants are each
 2
     liable for punitive damages, attorneys’ fees and costs under Cal. Civ. Code, §
 3
 4   3344.

 5                               EXEMPLARY DAMAGES
 6
             131. The acts complained of herein and in the preceding paragraphs above
 7
 8   were done willfully, unlawfully, maliciously, and in wanton disregard of the rights

 9   and feelings of Harvey and by reason thereof, she now demands punitive and
10
     compensatory damages.
11
12                                     JURY DEMAND

13           132. Harvey requests a trial by jury on all claims.
14
                                 PRESERVATION NOTICE
15
16           133. Harvey requests that Defendants preserve any and all related

17   evidence, reports, statements, notes, emails, text messages, communications,
18
     concerning the allegations herein. Defendants’ failure to preserve relevant
19
20   evidence may warrant a spoliation instruction at trial which creates a presumption

21   that if the evidence was preserved, it would weigh against the respective party.
22
                                   PRAYER FOR RELIEF
23
24           WHEREFORE, Plaintiff Fiona Harvey requests that defendants Netflix,

25   Inc., Netflix Worldwide, LLC, and Richard Gadd, be cited to appear and answer,
26
27
28                                             31
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 1   and that at the final trial of this matter, Harvey have judgment against Defendants,
 2
     as follows:
 3
 4         A. Judgment against Defendants for actual damages, the sum to be

 5            determined at trial, but is believed to exceed $50 million, exclusive of
 6
              legal fees, costs and statutory interest;
 7
 8         B. Judgment against Defendants for compensatory damages in the

 9            maximum amount allowed by law, in an amount to exceed $50 million,
10
              exclusive of legal fees and costs, including mental anguish, loss of
11
12            enjoyment of life and loss of business;

13         C. Judgment against Defendants for all profits from Baby Reindeer, in the
14
              maximum amount allowed by law, in an amount to exceed $50 million,
15
16            exclusive of legal fees and costs;

17         D. Judgment against Defendants for punitive damages in the maximum
18
              amount allowed under law, and believed to exceed $20 million;
19
20         E. Pre-judgment interest at the legally prescribed rate from the date of the

21            violations until judgment as well as post-judgment interest as applicable;
22
           F. An award of attorneys’ fees.
23
24         G. Such other general relief to Harvey is just entitled.
25         Dated: June 6, 2024
26                                    Respectfully submitted,
27
28                                             32
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28                                     33
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 1                             DEMAND FOR JURY TRIAL
 2
           Pursuant to Fed. R. Civ. P. 38(b), Local Rule 38-1, and otherwise, Plaintiff
 3
 4   respectfully demands a trial by jury on all issues so triable.

 5   Dated: June 6, 2024
 6
 7                                    Respectfully submitted,
 8
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